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    TOGUT, SEGAL & SEGAL LLP                             SETTLEMENT DATE:        9/20/18 AT 10:00 A.M.
    One Penn Plaza, Suite 3335
    New York, New York 10119
    (212) 594-5000
    Albert Togut
    Scott E. Ratner

    Attorneys for Stephen S. Gray,
    Not Individually But Solely in His
    Capacity as the Chapter 11 Trustee

   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   ---------------------------------------------------------- x
                                                              : Chapter 11
   In re:                                                     :
                                                              :
            WONDERWORK, INC.,                                 : Case No.: 16-13607 (MKV)
                                                              :
                                       Debtor.                :
                                                              :
   ---------------------------------------------------------- x

             NOTICE OF SETTLEMENT OF FINDINGS OF FACT
      AND CONCLUSIONS OF LAW CONFIRMING AMENDED CHAPTER 11
         PLAN OF LIQUIDATION FOR THE BANKRUPTCY ESTATE OF
      WONDERWORK, INC., AS PROPOSED BY THE CHAPTER 11 TRUSTEE

                     PLEASE TAKE NOTICE that the undersigned will present for

    settlement and signature the proposed Findings of Fact and Conclusions of Law

    Confirming Amended Chapter 11 Plan of Liquidation for the Bankruptcy Estate of

    WonderWork, Inc., as Proposed by the Chapter 11 Trustee annexed hereto

    (the “Order”) to the Honorable Mary Kay Vyskocil, United States Bankruptcy

    Judge, in her Chambers at the United States Bankruptcy Court for the Southern

    District of New York (the “Bankruptcy Court”), One Bowling Green, New York,

    New York 10004, on September 20, 2018 at 10:00 a.m. (the “Settlement Date”).



                                    (continued on the following page)
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                 PLEASE TAKE FURTHER NOTICE that absent any counter-

    proposals timely filed in accordance with the Bankruptcy Code, the Bankruptcy

    Rules, and the Local Rules for the Southern District of New York, the proposed

    Order may be signed.

    DATED: New York, New York
           September 14, 2018

                                            STEPHEN S. GRAY
                                            Not Individually But Solely in his
                                            Capacity as Chapter 11 Trustee
                                            By His Attorneys,
                                            TOGUT, SEGAL & SEGAL LLP
                                            By:

                                            /s/ Scott E. Ratner
                                            ALBERT TOGUT
                                            SCOTT E. RATNER
                                            Members of the Firm
                                            One Penn Plaza, Suite 3335
                                            New York, New York 10119
                                            (212) 594-5000




                                           2
